Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 1 of 44




                             EXHIBIT H
Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 2 of 44




                       In The Matter Of:
                      DR. KAMIAR ALAEI v.
              STATE UNIVERSITY OF NEW YORK, et al.




                         WILLIAM B. HEDBERG
                            January 25, 2021




      Min-U-Script® with Word Index
Case 1:21-cv-00377-BKS-TWD    Document 119-8   Filed 04/29/25   Page 3 of 44

                               WILLIAM B. HEDBERG                               1


 1         STATE OF NEW YORK
 2         COURT OF CLAIMS
 3         ---------------------------------------------------:
 4         In the Matter of the Claim by
 5         DR. KAMIAR ALAEI,
 6                                        Claimant,
 7
 8         - Against -                                          Claim Number:
 9                                                              132554
10         STATE UNIVERSITY OF NEW YORK,
11         STATE UNIVERSITY OF NEW YORK AT ALBANY,
12         and THE STATE OF NEW YORK,
13                                        Respondents.
14         ---------------------------------------------------:
15                   DEPOSITION of:       WILLIAM B. HEDBERG
16                               (Respondent Agent)
17
18                           Thursday, January 25, 2021
19                             1:16 p.m. - 2:23 p.m.
20
21
22         HELD:   Via Zoom Video Conferencing
23
24         Reported by:      Deborah M. McByrne
25

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 4 of 44

                              WILLIAM B. HEDBERG                              2


 1         APPEARANCES: (All via Zoom)
 2
 3         APPEARING FOR CLAIMANT:
 4              YOUNG/SOMMER LLC
 5                    Five Palisades Drive, Suite 300
 6                    Albany, New York 12205
 7                    (518) 438-9907
 8              BY:   JOSEPH F. CASTIGLIONE, ESQ.
 9                    Jcastiglione@youngsommer.com
10
11
12         APPEARING FOR RESPONDENTS:
13              NEW YORK STATE OFFICE OF THE ATTORNEY GENERAL
14                    The Capitol
15                    Albany, New York 12224
16                    (518) 776-2576
17              BY:   ANTHONY ROTONDI, ESQ.
18                    Assistant Attorney General
19                    Anthony.Rotondi@ag.ny.gov
20
21
22
23
24
25

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 5 of 44

                              WILLIAM B. HEDBERG                              3


 1                      S T I P U L A T I O N S
 2
 3
                    IT IS HEREBY STIPULATED, by and between the
 4         attorneys hereto, that:
 5
                    All rights provided by the C.P.L.R, and
 6         Part 221 of the Uniform Rules for the Conduct of
           Depositions, including the right to object to any
 7         question, except as to form, or to move to strike
           any testimony at this examination is reserved; and
 8         in addition, the failure to object to any question
           or to move to strike any testimony at this
 9         examination shall not be a bar or waiver to make
           such motion at, and is reserved to, the trial of
10         this action.
11
                    This deposition may be sworn to by the
12         witness being examined before a Notary Public other
           than the Notary Public before whom this examination
13         was begun, but the failure to do so or to return the
           original of this deposition to counsel, shall not be
14         deemed a waiver of the rights provided by Rule 3116
           of the C.P.L.R, and shall be controlled thereby.
15
16                  The filing of the original of this
           deposition is waived.
17
18                  IT IS FURTHER STIPULATED, that a copy of
           this examination shall be furnished to the attorney
19         for the witness being examined without charge.
20
21
22
23
24
25

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 6 of 44

                              WILLIAM B. HEDBERG                              4


 1                             WILLIAM B. HEDBERG,
 2              was called as a witness, and having been first
 3              duly sworn, was examined and testified as
 4              follows:
 5         EXAMINATION BY
 6         MR. CASTIGLIONE:
 7   Q.    Good afternoon, Mr. Hedberg.           My name is
 8         Joe Castiglione.       I'm an attorney with the law firm
 9         of Young/Sommer.       We're the attorneys for
10         Dr. Kamiar Alaei.       You're here as a possible witness
11         concerning Dr. Alaei's claim against New York State
12         regarding employment with SUNY Albany, or the State
13         University of New York at Albany.
14                           Just so it's clear, if I refer to SUNY
15         Albany, I'm referring to the State University of New
16         York at Albany.
17   A.    Yes.
18   Q.    And if I'm referring to GIHHR, I'm referring to the
19         Global Institute on Health and Human Rights, if
20         that's clear?
21   A.    Understood.
22   Q.    Okay.   I'm going to ask you some questions today to
23         probe your knowledge about what information or
24         knowledge you might have regarding this case or
25         issues relevant to the case.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8    Filed 04/29/25   Page 7 of 44

                              WILLIAM B. HEDBERG                                 5


 1                           As you're aware, your counsel might
 2         make certain objections.           Those are for the record.
 3         You need to ask the -- you need to -- I'm sorry, you
 4         need to answer the question, unless otherwise
 5         directed by your attorney.
 6                           The stenographer is here to swear you
 7         under oath and create a transcript of the questions
 8         and answers for this deposition.              Just to be clear,
 9         let me first ask the question.             Before I'm done, you
10         wait until I finish, then you can answer.                 She can't
11         type us both speaking at the same time.
12                           If you could also verbalize a
13         response.    Some people tend to nod, which is
14         understandable, but yes, no or some other
15         articulated verbal response in response to the
16         question.
17                           If an objection is made, let your
18         attorney make the objection and then you can answer.
19         Everything is on the record and being recorded by
20         the stenographer, unless counsel agrees to go off
21         otherwise.
22                           If I ask you a question, please
23         respond to the best of your ability.                 If you don't
24         understand the question as presented, please let me
25         know and we'll try to rephrase it.

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                                WILLIAM B. HEDBERG                              6


 1                            If at any point you need to take a
 2         break, whatnot, just let us know.               If a question is
 3         posed to you, however, you have to answer the
 4         question first before you take a break or otherwise
 5         talk to counsel.
 6                            Is there any reason today that you
 7         wouldn't be able to respond truthfully or accurately
 8         to the best of your ability?
 9   A.    No.
10   Q.    All right.        I'm sorry, can you state again your name
11         for the record, please?
12   A.    Yes, William B. Hedberg.
13   Q.    And are you currently employed, Mr. Hedberg?
14   A.    Yes.
15   Q.    Where are you employed?
16   A.    With the University at Albany, State University of
17         New York?
18   Q.    And what is your current employment position?
19   A.    I'm the Senior Vice Provost and Associate Vice
20         President for academic affairs.
21   Q.    And how long have you held that position?
22   A.    I have been Associate Vice President since 1992 and
23         Senior Vice Provost for about ten years.
24   Q.    And so you held these same positions from the year
25         2018?

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                              WILLIAM B. HEDBERG                              7


 1   A.    Yes.
 2   Q.    Can you explain to me the job duties or
 3         responsibilities for this position?
 4   A.    Well, I report to the Senior Vice Provost or -- and
 5         -- I report to the Provost and the Senior Vice
 6         President for academic affairs.            And I work with
 7         that individual and other members of the senior
 8         leadership team in providing oversight to the
 9         University's nine schools and colleges.
10                           I have a few other direct reports, and
11         my duties include faculty and staff recruitment and
12         development, personnel administration and employee
13         relations, planning, budgeting, fiscal
14         administration.
15   Q.    Did you review any documents today in advance to
16         prepare for the deposition?
17   A.    No.
18   Q.    Did you have any conversations with anyone, other
19         than your attorney, for preparing for the
20         deposition?
21   A.    No.
22   Q.    If I can refer you to what was previously identified
23         as Claimant's Exhibit A-1?          And just so you're
24         aware, the stenographer is going to be showing those
25         to you.    She has control of the documents.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 10 of 44

                               WILLIAM B. HEDBERG                              8


 1   A.    Yeah, I honestly don't recall seeing it, but it, you
 2         know, comes from Chief Personnel Officer.
 3   Q.    So are you aware there was an investigation
 4         concerning Dr. Kamiar Alaei in 2018 regarding a
 5         potential disciplinary issues?
 6   A.    I had heard it -- I had heard as much.
 7   Q.    Okay.    When did you first learn about this
 8         investigation, if you recall?
 9   A.    I don't recall.
10   Q.    Okay.    Do you recall ever being told about the
11         underlying concerns that triggered the investigation
12         concerning Dr. Alaei?
13   A.    No, I don't.
14   Q.    Do you know how long it took for the investigation
15         to come to a conclusion?
16   A.    No, I don't.
17   Q.    Did you have any role or participate in conducting
18         the investigation concerning Dr. Alaei in the
19         disciplinary issue?
20   A.    No.
21   Q.    Do you know of any people who were involved in or
22         participated in the investigation on behalf of SUNY
23         Albany?
24   A.    I don't recall.
25   Q.    Are you aware that -- strike that.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 11 of 44

                               WILLIAM B. HEDBERG                              9


 1                           Are you aware that SUNY Albany made a
 2         determination not to discipline Dr. Alaei in
 3         August 2018?
 4   A.    No.
 5   Q.    Okay.    So I guess you wouldn't have participated in
 6         that decision-making then --
 7   A.    Correct.
 8   Q.    -- fair to say?
 9   A.    Correct.
10   Q.    Are you aware that SUNY Albany terminated
11         Dr. Alaei's employment on or about August 10, 2018?
12   A.    Yes.
13   Q.    Were you consulted or did you participate in the
14         determination to terminate that employment?
15   A.    No.
16   Q.    Did you work with Dr. Alaei over time while he was
17         at SUNY Albany?
18   A.    No.
19   Q.    Are you aware of the quality of his work over time
20         while at SUNY Albany?
21   A.    I had heard good reports about his contribution.
22   Q.    Do you recall who may have raised those good reports
23         with you?
24   A.    Well, they attracted -- The narrative around him was
25         very attractive and so there was -- there

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Case 1:21-cv-00377-BKS-TWD    Document 119-8   Filed 04/29/25   Page 12 of 44

                                WILLIAM B. HEDBERG                              10


 1         were -- You know, the nature of the work was
 2         reported more than once in newsletters and other
 3         communications.
 4   Q.    Did you ever hear any concerns that were critical of
 5         Dr. Alaei's work over time?
 6   A.    No.
 7   Q.    If I can refer you to what's being marked as -- or
 8         what has been marked as Claimant's Exhibit D-1.
 9                            Mr. Hedberg, Claimant's Exhibit D-1 is
10         a series of e-mails between Brian Selchick,
11         S-E-L-C-H-I-C-K, and Chantelle Cleary,
12         C-H-A-N-T-E-L-L-E, C-L-E-A-R-Y.              Do you know who
13         those two individuals are?
14   A.    Yes.
15   Q.    Could you explain to me your understanding of who
16         those two individuals are?
17   A.    Brian Selchick works in the office of human
18         resources management and is responsible for employee
19         relations.        And Chantelle Cleary is no longer with
20         the University, but when she was with us, she was
21         the Title IX Coordinator.
22   Q.    Do you know when Ms. Cleary left the University?
23   A.    I don't recall.
24   Q.    Do you know any of the circumstances involving her
25         leaving the University?

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 13 of 44

                               WILLIAM B. HEDBERG                              11


 1   A.    No, I -- Well, she had accepted an opportunity to go
 2         to Cornell.
 3   Q.    In these e-mails, there's a discussion concerning
 4         Kamiar Alaei.      There's a statement, you can see in
 5         the middle of the document in front of you:                  "I
 6         thought we agreed he wasn't going to come back."
 7                           Were you aware of any determination
 8         made by SUNY Albany personnel as of March 26, 2018,
 9         that Dr. Alaei was not to come back to employment?
10   A.    Not that I recall.
11   Q.    Are you aware if there came a time when SUNY Albany
12         personnel began to process non-renewal of
13         Dr. Alaei's employment?
14   A.    Yes.
15   Q.    Okay.    Can you explain to me, generally, what you
16         recall, as you sit here today, regarding the
17         non-renewal process for Dr. Alaei?
18   A.    Yes.    Well, there is a transaction form calling for
19         the non-renewal.       There's a process that we are
20         required to go through that gives him an opportunity
21         to respond at each step of the decision.
22   Q.    Do you know who initiated or who initially
23         determined to move forward with a non-renewal
24         process for Dr. Alaei?
25   A.    I was instructed by the Provost to be in touch with

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 14 of 44

                               WILLIAM B. HEDBERG                              12


 1         Harvey Charles to start the process.
 2   Q.    And did the Provost ever explain to you why he
 3         wanted you to start that process of non-renewal?
 4   A.    Not in detail, no.
 5   Q.    Do you recall when the Provost first raised that
 6         with you?
 7   A.    I don't recall.
 8   Q.    If I can refer you to what was previously marked as
 9         Claimant's Exhibit E-1?
10                           So Mr. Hedberg, what's being shown to
11         you as -- and is marked as Claimant's Exhibit E-1,
12         is an e-mail from a Liesl, L-I-E-S-L, Zwicklbauer,
13         Z-W-I-C-K-L-B-A-U-E-R, dated April 4, 2018, sent to
14         Brian Selchick, Chantelle Cleary, Randy Stark and
15         then someone else.        Have you ever seen this e-mail
16         before?
17   A.    No.
18   Q.    This e-mail talks, in part, about if somebody is a
19         professional employee, "most director titles are,
20         you have to check and make sure he has a current
21         performance program and evaluation before you can
22         non-renew."
23                           Are you familiar with what the
24         reference to "current performance program" means?
25   A.    Yes.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 15 of 44

                               WILLIAM B. HEDBERG                              13


 1   Q.    Could you explain to me what your understanding of
 2         "performance program" means?
 3   A.    Employees who are appointed as professional faculty
 4         are required to have a statement that is referred to
 5         as a performance program that outlines their core
 6         duties and responsibilities and their performance
 7         objectives for performance period.
 8   Q.    And there's another reference, it says, "and
 9         evaluation."
10                           Do you have any understanding what
11         that's referring to, the evaluation?
12   A.    Normally, a professional employee would be evaluated
13         on an annual basis against their performance
14         program.
15   Q.    Have you been involved with other non-renewal
16         processes for SUNY Albany employees?
17   A.    Yes.
18   Q.    Do you have an approximation of how many you've been
19         involved with over time?
20   A.    Several dozen, at least.
21   Q.    Can you explain to me your understanding of the
22         process for non-renewal and considerations by SUNY
23         employees for non -- or strike that.
24                           Can you explain to me your
25         understanding of the process for non-renewal and

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 16 of 44

                               WILLIAM B. HEDBERG                              14


 1         considerations by SUNY Albany personnel for
 2         non-renewing an employee?
 3   A.    Well, the process is lined out in the agreement with
 4         UUP, United University of Professions and -- between
 5         the UUP and the State of New York.              And as the -- as
 6         the action moves up the organization to the final
 7         appointing authority, the copy of the -- any
 8         documentation at each step is provided to the
 9         employee with an opportunity to respond.
10   Q.    And who, typically, in your experience, initiates
11         the non-renewal for an employee?
12   A.    It, typically, comes from the director of the unit
13         that the employee's appointed to.
14   Q.    Would that, in other words, be the employee's
15         supervisor, direct supervisor?
16   A.    Yes.
17   Q.    Are you aware if Dr. Alaei had a performance program
18         as of April 4, 2018?
19   A.    I don't recall.
20   Q.    Are you aware if he had an evaluation as of April 4,
21         2018?
22   A.    I don't recall.
23   Q.    If I can refer you to what has been marked as
24         Claimant's Exhibit L-4?
25                           Mr. Hedberg, Claimant's Exhibit L-4,

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 17 of 44

                               WILLIAM B. HEDBERG                                 15


 1         as identified, has some handwritten notes in the
 2         right-hand corner.        It appears to be a date of 4/3,
 3         and can't make out the end.           The left-hand side,
 4         there appear to be some initials BBS, RLS, maybe.
 5         Have you ever seen this document before?
 6   A.    No.
 7   Q.    On the fourth line down from the top, it appears to
 8         say:    "Goal is to make sure he does not come back."
 9                           Are you aware, as of April 3, 2018,
10         whether there was any goal by SUNY Albany personnel
11         to make sure that Dr. Alaei did not come back to
12         employment with SUNY?
13   A.    No.
14   Q.    If you scroll down a little bit more, please.                   That
15         last line, it appears to say:            "Performance
16         evaluations to support non-renewal, we could
17         recreate them."
18                           Are you aware of any efforts by anyone
19         with SUNY Albany at the time trying to recreate
20         performance evaluations to support a non-renewal as
21         of April 2018?
22   A.    No.
23   Q.    If I can refer you to what's previously been marked
24         as Claimant's Exhibit B-1?
25                           Claimant's Exhibit B-1 appears to be a

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 18 of 44

                               WILLIAM B. HEDBERG                              16


 1         letter from Dean Harvey Charles to
 2         Provost James Stellar, dated April 27, 2018.                  Do you
 3         know who Provost James Stellar is, as of April 27,
 4         2018?
 5   A.    Yes.
 6   Q.    Who was he?
 7   A.    He was the Chief Academic Officer of the University,
 8         and he was my direct supervisor.
 9   Q.    Okay.    Did he have oversight over Dr. Alaei and
10         GIHHR?
11   A.    Not directly.
12   Q.    But they were underneath his umbrella of authority?
13   A.    That's correct.
14   Q.    Do you recognize this document that is identified
15         Claimant's Exhibit B-1?
16   A.    I don't recall.
17   Q.    Do you recall if whether or not you drafted this
18         document?
19   A.    I recall drafting a document and sending it to
20         Dean Charles.      And I just don't recall if this is
21         it.
22   Q.    If I can refer you to what had been previously
23         identified as Claimant's Exhibit B-3?
24                           MR. ROTONDI:      So I have to stand for a
25                 minute, but you can continue.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 19 of 44

                               WILLIAM B. HEDBERG                              17


 1                           MR. CASTIGLIONE:        Sure.
 2         BY MR. CASTIGLIONE:
 3   Q.    Mr. Hedberg, do you recognize the documents
 4         identified as Claimant's Exhibit B-3?
 5   A.    Yes.
 6   Q.    Can you explain to me your understanding of these
 7         documents?
 8   A.    I do recall drafting a statement and also preparing
 9         a non-renewal form and sending it to Dean Charles
10         for him to execute.
11   Q.    And so the statement you just referred to about
12         non-renewal, is that the statement that
13         Provost Stellar directed you to prepare?
14   A.    Yes.
15   Q.    When you received this response from Mr. Charles
16         about not knowing or practically nothing about, you
17         know -- strike that.
18                           When you received this e-mail from
19         Mr. Charles, dated April 28, 2018:              "I'm saying he
20         knows practically nothing about the situation and
21         feels uncomfortable making a recommendation to the
22         Provost without a basis to do so," did you advise
23         the Provost of Mr. Charles' feelings?
24   A.    I don't recall.
25   Q.    Do you recall any particular course of action being

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 20 of 44

                               WILLIAM B. HEDBERG                               18


 1         taken in response to what was raised by Dr. Charles
 2         here?
 3   A.    I recall that Dean Charles contacted me.                 We spoke
 4         by phone.     He -- This was after my message to him at
 5         4:40.    As I recall, he came to my house.               He was so
 6         eager to dispose of this matter, he came to my house
 7         with the signed form -- to sign the letter.
 8   Q.    And would that be -- the letter, would that be
 9         consistent with what we looked at before, Claimant's
10         Exhibit B-1?
11   A.    It may be -- it is likely.          It may be.
12   Q.    Is it typical, in your experience, that there would
13         be a recommendation that a supervisor sign a
14         non-renewal letter, when the supervisor didn't feel
15         comfortable making that type of recommendation?
16   A.    It's not typical.
17   Q.    Was there any explanation, after receiving this
18         e-mail from Dr. Charles, that was offered by the
19         Provost as to why he was moving forward with that
20         non-renewal?
21   A.    Not to me.
22   Q.    At this time, April 28, 2018, when you were asking
23         that, you know, per the direction of the Provost,
24         that Harvey Charles sign this letter of non-renewal,
25         had you obtained Kamiar Alaei's program performance

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 21 of 44

                               WILLIAM B. HEDBERG                               19


 1         or evaluation at that point?
 2   A.    No.
 3   Q.    Do you recall if anybody ever provided you with a
 4         copy of Dr. Alaei's performance program or
 5         evaluation?
 6   A.    No.
 7   Q.    Is that typical?
 8   A.    No, that's not typic -- Well, I'm sorry.                 I want to
 9         make sure I understand the question.
10   Q.    No, that's fine.
11                           Is it typical that for a non-renewal,
12         when you're processing it, that you don't have a
13         program performance or evaluation being provided for
14         the employee that's being non-renewed?
15   A.    That's typical.
16   Q.    It's typical that you would have them?
17   A.    That I would not -- that they would not accompany
18         the material coming forward.
19   Q.    Would somebody, though, typically review those as
20         part of the non-renewal process?
21   A.    I don't know.
22   Q.    Did you have any concerns with the merits of
23         Dr. Alaei's work at this time when the process of
24         the non-renewal was going on?
25   A.    No.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8    Filed 04/29/25   Page 22 of 44

                               WILLIAM B. HEDBERG                               20


 1   Q.    Are you aware of whether Provost Stellar had raised
 2         any concerns regarding the merit of Dr. Alaei's work
 3         around the time of this non-renewal processing?
 4   A.    Well, when I received my instruction, I was -- I
 5         assumed that he had made a decision that it was in
 6         the University's interest to, you know, separate it.
 7   Q.    Do you recall sending any e-mails with the Provost
 8         regarding this non-renewal matter?
 9   A.    I would have to check.         I don't -- I don't recall.
10         We are located right next to each other, so.
11   Q.    Okay.    If I can refer you to --
12                           MR. CASTIGLIONE:         If you scroll down,
13                 Deb, for Claimant's B-3?
14   Q.    Mr. Hedberg, I'm showing you what's part of
15         Claimant's Exhibit B-3.            It's the second page and
16         I'm referring to the e-mail in the middle of the
17         page, dated 4/30/2018, what appears to be from you
18         to Dr. Alaei.      Do you recall this e-mail?
19   A.    I recall being concerned that as we proceeded, that
20         we, you know, follow the protocol for each step of
21         the process.      And having received the form, the next
22         step would be to present it to Dr. Alaei and to give
23         him an opportunity to respond.
24                           MR. CASTIGLIONE:         If you can scroll
25                 down, Deb, to the last page of Claimant's

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Case 1:21-cv-00377-BKS-TWD    Document 119-8   Filed 04/29/25   Page 23 of 44

                                WILLIAM B. HEDBERG                              21


 1                 Exhibit B-3?
 2   Q.    Okay.    Mr. Hedberg, Claimant's Exhibit B-3, the last
 3         page identified as a change of status request form,
 4         HRM-3 appears to be signed by Dr. Charles on
 5         4/28/2018.        Do you recall this document?
 6   A.    Yes, this is a standard transaction form for --
 7   Q.    Okay.    I'm sorry, go ahead.
 8   A.    I believe this was the form that I prepared and sent
 9         to Dean Charles.
10   Q.    If the Provost had asked you to prepare this form,
11         do you know why the Provost didn't sign it in the
12         first place?
13   A.    Well, it would normally be signed first by the
14         employee's supervisor.
15   Q.    Okay.    And here, for Dr. Alaei, that was Mr. Charles
16         or Dr. Charles?
17   A.    Yes.
18   Q.    At the time you had put together this form that
19         we're looking at as part of Claimant's B-3, did you
20         believe that the Provost had made a determination
21         not to renew Dr. Alaei?
22   A.    Yes.
23   Q.    If I can refer you to what's been marked as
24         Claimant's Exhibit B-6?
25                            Mr. Hedberg, I'm showing you what's

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 24 of 44

                               WILLIAM B. HEDBERG                              22


 1         being marked -- or has been marked as Claimant's
 2         Exhibit B-6, the first page of which appears to be
 3         an e-mail from you dated May 14, 2018, to Dr. Alaei.
 4         The e-mail states, in part, or talks, in part, about
 5         the Provost having signed it and that the next step
 6         in the process was for the President to review the
 7         file and make his decision.
 8                           Were you aware at that time if the
 9         President had already made a decision as to
10         non-renewal for Dr. Alaei?
11   A.    No.
12   Q.    Before this point, May 14, 2018, do you recall
13         having any discussions with Randy Stark about the
14         non-renewal?
15   A.    Not that I recall, but I do recall being concerned
16         that we follow the prescribed process.                Randy was
17         new and I didn't want us to have a misstep.
18   Q.    Okay.    In this e-mail, May 14, 2018, you note that
19         Dr. Alaei had five working days to review a file
20         and -- to review his file and submit a statement in
21         response.     Do you recall receiving this statement in
22         response from Dr. Alaei?
23   A.    I believe he responded both to the -- both to the
24         form before the Provost signed it, and then I think
25         he wrote directly to the President.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 25 of 44

                               WILLIAM B. HEDBERG                              23


 1   Q.    Okay.    If I can refer you to starting with the third
 2         page of Claimant's Exhibit B-6.             It starts with,
 3         there's a date, May 8, 2018.
 4                           Mr. Hedberg, do you recognize the
 5         document in front of you with the date May 8, 2018,
 6         addressed to you that's part of Claimant's Exhibit
 7         B-6?
 8   A.    Yes, I believe this is Kamiar's response to the
 9         first invitation for a response.
10   Q.    And do you recall reading this at the time?
11   A.    I'm sure I did.
12   Q.    Did you take any action in response after you
13         received this letter?
14   A.    I attached it to the form and submitted it to the
15         Provost.
16   Q.    This document -- if you scroll down a little bit.
17         At the top of the screen, there's a paragraph that
18         starts with:      "I have never received a negative
19         evaluation from Dean Karl Rethemeyer,
20         R-E-T-H-E-M-E-Y-E-R, and some other people or any
21         other member of the University administration.
22                           Is it in your -- strike that.
23                           In your experience, is it common for
24         an employee to be non-renewed when they had never
25         received a negative evaluation?

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 26 of 44

                               WILLIAM B. HEDBERG                               24


 1   A.    It's not common.
 2   Q.    If you can scroll down to the next page?                 There's a
 3         paragraph in the middle of this page which is the
 4         second page of the document from Dr. Alaei, dated
 5         May 8, 2018, that's attached as part of Claimant's
 6         B-6, there's a reference regarding funding and
 7         funding targets.       If you can read that paragraph
 8         that starts with:       "With respect to funding, you can
 9         also find the projected funding required"?
10   A.    Yes.
11   Q.    Are you familiar with what Dr. Alaei is referring to
12         with regards to reaching over 21 times higher than
13         the target, as referenced in that paragraph?
14   A.    I know they were very active in submitting
15         applications and they had, you know, a fair amount
16         of success.
17   Q.    Was this type of success similar to others with SUNY
18         Albany, in terms of fundraising?
19   A.    I don't recall.
20   Q.    Is this a positive achievement for Dr. Alaei?
21   A.    Well, I think success in sponsored funds is a
22         positive achievement for any faculty member at the
23         University.
24   Q.    Did you have any conversations with Provost Stellar
25         after sending this form with -- this form for

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25    Page 27 of 44

                               WILLIAM B. HEDBERG                               25


 1         non-renewal, along with Dr. Alaei's letter?
 2   A.    Not that I recall.
 3   Q.    Did there come a time where the President approved
 4         the non-renewal of Dr. Alaei?
 5   A.    I believe so.
 6   Q.    Do you know the basis for the President approving
 7         the non-renewal?
 8   A.    No.
 9   Q.    Did you have any discussions with Provost Stellar or
10         anybody else that had any understanding of why the
11         President agreed to the renewal?
12   A.    No, not that I recall.
13   Q.    Are you aware of any other SUNY employees, within
14         the scope of your job responsibilities, that were
15         renewed at or around the time that Dr. Alaei was
16         recommended and then not renewed?
17   A.    (No response.)
18   Q.    I could ask -- I can rephrase that.                 Are you
19         aware -- At the time that Dr. Alaei was non-renewed,
20         are you aware of whether there were other SUNY
21         employees that were renewed?
22   A.    I'm sure there were.
23   Q.    Are you aware of whether any of them had negative
24         evaluations?
25   A.    I don't recall.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 28 of 44

                               WILLIAM B. HEDBERG                              26


 1   Q.    Are you aware if any of those individuals who were
 2         renewed at the direction of the Provost and not
 3         their direct supervisor?
 4   A.    I don't recall.
 5   Q.    Did you have any input or discussion concerning
 6         Dr. Alaei being given one year of payment versus two
 7         when he was non-renewed?
 8   A.    I remember it was an issue.
 9   Q.    Do you have any understanding of what the issue was?
10   A.    In his original engagement letter, there was
11         language related to the security of two years of
12         salary.
13   Q.    And do you have any understanding of what that
14         language means for employees that you oversee?
15   A.    I don't recall.       I'd have to see it again.
16   Q.    Okay.    If I can refer you to what was previously
17         identified as Claimant's Exhibit E-2?
18                           Mr. Hedberg, back to the renewal
19         really quick.      Are you aware of anyone who wasn't
20         renewed when they received a positive evaluation?
21   A.    I don't recall.
22   Q.    As to this document, Claimant's Exhibit E-2, do you
23         recognize what this document is?
24   A.    Yes, this is an engagement letter.              This would be
25         the letter that makes the initial offer of

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Case 1:21-cv-00377-BKS-TWD    Document 119-8   Filed 04/29/25   Page 29 of 44

                                WILLIAM B. HEDBERG                              27


 1         employment.
 2   Q.    And if I could refer you down -- please scroll down
 3         to the next paragraph.
 4                            In the middle paragraph here, which
 5         would be page 1 of this document, there's a line
 6         that says:        "To give you the security" -- what
 7         appears to me to say:         "At least two years of
 8         employment, the appointment will be reviewed
 9         annually for possible extension by another year."
10                            Do you have any understanding, in your
11         position of overseeing employees and whatnot, as to
12         what that language means?
13   A.    It means that the -- it would be that -- as it says,
14         that the appointment was to be reviewed annually and
15         extended by another year.
16   Q.    Do you have any understanding what the security of
17         at least two years of employment would be referring
18         to?
19   A.    I would take it to mean that you have at least two
20         years of employment upon notice of non-renewal.
21   Q.    So in other words, if an employee was issued notice
22         of non-renewal, they should still have two years of
23         employment remaining?
24   A.    Yeah, so typically, it's one year.
25   Q.    Okay.    But this language would indicate two years?

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 30 of 44

                               WILLIAM B. HEDBERG                              28


 1   A.    This is unusual language.
 2   Q.    Have you seen it in other employment arrangements
 3         with employees under your purview?
 4   A.    I believe we did the same -- had the same
 5         arrangement with -- Well, no, I don't recall.                   I
 6         think I -- I think it was used in at least one other
 7         appointment letter.
 8   Q.    Do you know who Kevin Williams is?
 9   A.    Yes.
10   Q.    Who is Mr. Williams?        Dr. Williams, I'm sorry.
11   A.    He is a professor of psychology and has -- is Vice
12         Provost and Dean for Graduate Education.
13   Q.    Are you aware of whether Dr. Williams would have an
14         understanding regarding employment contract terms in
15         his position with SUNY Albany?
16   A.    No, I don't think he would.
17   Q.    Are you aware of the term "evergreen appointment"?
18   A.    Yes.
19   Q.    Can you explain to me your understanding of that
20         term?
21   A.    This actually would be a variation of the evergreen
22         appointment.      There was a period of time -- we don't
23         do it anymore, but we would appoint full-time
24         lecturer for an initial three-year period and then
25         evaluate and extend it annually to give them the

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 31 of 44

                               WILLIAM B. HEDBERG                                 29


 1         security of even a longer term appointment.                  But
 2         such appointments are for employees who are not
 3         eligible for tenure or what we call continuing
 4         appointment.
 5   Q.    So usually it would be a three-year appointment; is
 6         that what you're saying?
 7   A.    Yes.
 8   Q.    And the language of security of two years would
 9         indicate two-year appointment in a moderation of
10         evergreen?
11   A.    I don't recall the specific language, but this
12         construction, you know, was used in a couple of
13         other instances.       As I say, we no longer use it.
14   Q.    Okay.    If I can refer you to what has been marked as
15         Defendant's Exhibit -- sorry, Claimant's Exhibit
16         D-2?
17                           Mr. Hedberg, I'm showing you an e-mail
18         that's been marked as Claimant's Exhibit D-2.                   It's
19         an e-mail from -- purports to be from Randy Stark to
20         Valerie Ayers and others, dated July 6, 2018.                   This
21         memo states, in part -- or e-mail states, in part:
22         "I've attached a counseling that we worked on for
23         Kamiar Alaei.      It was a struggle writing it, as
24         there wasn't really anything to counsel him on since
25         the sexual misconduct allegations were unfounded.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 32 of 44

                               WILLIAM B. HEDBERG                              30


 1         We plan to give him policies on sexual harassment,
 2         workplace violence, et cetera, but for what purpose,
 3         as we are going to non-renew him and buy him out."
 4                           As to non-renew and buying out, are
 5         you aware of who would have that authority at SUNY
 6         Albany for an employee?
 7   A.    Ultimately, it's the President's decision.
 8   Q.    After the non-renewal was approved for Dr. Alaei,
 9         did you have any further conversations with the
10         Provost about Dr. Alaei's employment?
11   A.    Not that I recall.
12   Q.    Are you aware of what a counseling memorandum is?
13   A.    Yes.
14   Q.    If I can refer you to Claimant's Exhibit H?
15         Claimant's Exhibit H is a counseling memorandum,
16         dated August 9, 2018, from Randy Stark to
17         Dr. Kamiar Alaei.       Did you participate in
18         preparing -- or were you consulted with for
19         preparing this counseling memorandum?
20   A.    I don't believe so.
21   Q.    If I can show you what's been previously marked as
22         Exhibit B, Claimant's B-8.
23                           Are you aware of what this document
24         is?
25   A.    This looks like a standard non-renewal letter.

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 33 of 44

                               WILLIAM B. HEDBERG                              31


 1   Q.    Okay.
 2   A.    Well, this letter does two things; it extends
 3         the -- it extends the appointment, but also
 4         provides -- at the same time, provides notice of
 5         non-renewal.
 6   Q.    Scroll down, please.
 7                           There's a sentence here that says:
 8         "The University will pay the balance of salary
 9         remaining on your term appointment from
10         August 18 -- from August 10, 2018 through August 9,
11         2019."
12                           Is that consistent with the
13         appointment letter and having two years of
14         employment security that we went through in
15         Dr. Alaei's initial appointment letter?
16                           MR. ROTONDI:      Object to the form of
17                 the question.
18         BY MR. CASTIGLIONE:
19   Q.    You can answer.
20   A.    Oh, okay.     I don't recall.       I don't know.
21   Q.    Okay.
22   A.    I do recall it being an issue that was discussed and
23         studied, in conjunction with this transaction.
24   Q.    And were you consulted about that issue?
25   A.    I may have been, but I was -- I was not -- I mean, I

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 34 of 44

                                WILLIAM B. HEDBERG                             32


 1         recall that he had been -- Well, I just don't recall
 2         the details, as I indicated at the outset.                 I have
 3         not studied the record.
 4   Q.    Okay.    In your experience working with SUNY Albany
 5         in your position for the time you have, is it
 6         typical for employees to go through a disciplinary
 7         process, have a counseling memorandum issued and
 8         then be terminated the next day?
 9   A.    It's not common.
10   Q.    Do you recall it happening in the past?
11   A.    No.
12                           MR. CASTIGLIONE:        Anthony, if I could
13                 just get a couple of minutes to go through my
14                 notes and see if I have any last questions, and
15                 if not, we'll be ready to go.
16                           MR. ROTONDI:      Okay.
17                           MR. CASTIGLIONE:        Okay.     Thank you.
18                 Just a few minutes, Mr. Hedberg.            Thank you for
19                 your time.
20                           (Whereupon, a recess is taken.)
21         BY MR. CASTIGLIONE:
22   Q.    Mr. Hedberg, how long have you held your respective
23         positions with SUNY Albany?
24   A.    Well, I've been with SUNY since 1970.               I've been at
25         SUNY Albany since 1974, and I've been in the Provost

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 35 of 44

                               WILLIAM B. HEDBERG                              33


 1         office since 1985.
 2   Q.    Wow.    Okay.     And have you never seen a non-renewal
 3         and buyout situation by SUNY, similar to what
 4         happened with Dr. Alaei?
 5   A.    In many respects, they're all idiosyncratic and
 6         unique.    They're all different.
 7   Q.    As to the exhibit, Claimant's Exhibit B-8, in your
 8         experience, who's the one that determines the
 9         remaining balance to pay off to employees when there
10         is a termination similar to what's reflected in that
11         August 10, 2018 letter from SUNY to Dr. Alaei?
12   A.    I really don't know that answer.             I believe a
13         determination has been made in the office of human
14         resources, but it's subject to the approval of the
15         Provost and the President.
16                           MR. CASTIGLIONE:        I don't have any
17                other questions, Anthony.
18                           (Transcript requests are as follows.)
19                           MR. CASTIGLIONE:        Standard delivery,
20                E-mail transcript with exhibits.
21                           MR. ROTONDI:      E-mail copy only.
22                           (Whereupon, the above-titled matter
23                was concluded at 2:23 p.m.)
24
25

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 36 of 44

                               WILLIAM B. HEDBERG                                   34


 1                           I N D E X        P A G E
 2
 3         WITNESS:
 4                    WILLIAM B. HEDBERG
 5         EXAMINATION BY MR. CASTIGLIONE                                       4
 6
 7
 8                                E X H I B I T S
 9         CLAIMANT                DESCRIPTION                                 PAGE
10         (Whereupon no exhibits were marked.)
11
12
13
14
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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 37 of 44

                               WILLIAM B. HEDBERG                              35


 1                           C E R T I F I C A T I O N
 2         STATE OF NEW YORK:
           COUNTY OF WARREN:
 3
 4                  I, Deborah M. McByrne, do hereby certify
           that the foregoing testimony was duly sworn to;
 5         that I reported in machine shorthand the
           foregoing pages of the above-styled cause, and
 6         that they were prepared by computer-assisted
           transcription under my personal supervision and
 7         constitute a true and accurate record of the
           proceedings;
 8
 9
10             I further certify that I am not an attorney
           or counsel of any parties, nor a relative or
11         employee of any attorney or counsel connected
           with the action, nor financially interested in
12         the action.
13
               WITNESS my hand in the City of Queensbury,
14         County of Warren, State of New York
15
16
17
           ______________________________
18
19
20         DEBORAH M. McBYRNE
21         Court Reporter
22
23
24
25

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 38 of 44

                               WILLIAM B. HEDBERG                               36


 1         DECLARATION/WITNESS CERTIFICATION
 2         Case:    Alaei v. State University of New York
 3         Witness:     William B. Hedberg
 4         Deposition Date:       January 25, 2021
 5
               I declare under penalty of perjury that I
 6         have read the entire transcript of my Deposition
           taken in the captioned matter or the same has
 7         been read to me, and the same is true and
           accurate, save and except for changes and/or
 8         corrections, if any, as indicated by me on the
           DEPOSITION ERRATA SHEET hereof, with the
 9         understanding that I offer these changes as if
           still under oath.
10
                             ____________________________
11                                WILLIAM B. HEDBERG
12         Sworn to before me, this ____ day
           of___________     20_____ .
13
           [                                                         ](print)
14         Notary Public.
15         Registration No:       ______________________________
16         State of_________________________________________
17         Qualified in_____________________________County.
18         My commission expires__________________________.
19
20
21
22
23
24
25

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25   Page 39 of 44

                               WILLIAM B. HEDBERG                              37


 1         DEPOSITION ERRATA SHEET
 2         Case: Alaei v. State University of New York
           Witness: William B. Hedberg
 3         Deposition Date: January 25, 2021
 4                         Reason Codes:
           1:   To clarify the record
 5         2:   To conform to the facts
           3:   To correct transcription errors.
 6
           PAGE/LINE          CORRECTION     REASON CODE
 7         ___________________________________________________
 8         ___________________________________________________
 9         ___________________________________________________
10         ___________________________________________________
11         ___________________________________________________
12         ___________________________________________________
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21         ___________________________________________________
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23         ___________________________________________________
24         ___________________________________________________
25         ___________________________________________________

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Case 1:21-cv-00377-BKS-TWD   Document 119-8   Filed 04/29/25    Page 40 of 44

                               WILLIAM B. HEDBERG                               38


 1                           DEPOSITION ERRATA SHEET
 2         PAGE/LINE               CORRECTION           REASON CODE
 3         ___________________________________________________
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13         ___________________________________________________
14         ___________________________________________________
15         ___________________________________________________
16         ___________________________________________________
17         ___________________________________________________
18         ___________________________________________________
19         ________ Subject to the above changes, I certify
20         that the transcript is true and correct.
21         ________ No changes have been made.                 I certify that
22         the transcript is true and correct.
23
24                  ______________________________________
25                               WILLIAM B. HEDBERG

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Case 1:21-cv-00377-BKS-TWD                  Document 119-8               Filed 04/29/25       Page 41 of 44
DR. KAMIAR ALAEI v.                                                                                   WILLIAM B. HEDBERG
STATE UNIVERSITY OF NEW YORK, et al.                                                                        January 25, 2021

                          applications (1) 24:15    behalf (1) 8:22           C-L-E-A-R-Y (1) 10:12     day (1) 32:8
              A           appoint (1) 28:23         best (2) 5:23;6:8         CODE (1) 38:2             days (1) 22:19
                          appointed (2) 13:3;       bit (2) 15:14;23:16       colleges (1) 7:9          Dean (7) 16:1,20;
 A-1 (1) 7:23               14:13                   both (3) 5:11;22:23,      comfortable (1) 18:15       17:9;18:3;21:9;
 ability (2) 5:23;6:8     appointing (1) 14:7         23                      coming (1) 19:18            23:19;28:12
 able (1) 6:7             appointment (13)          break (2) 6:2,4           common (3) 23:23;         Deb (2) 20:13,25
 above (1) 38:19            27:8,14;28:7,17,22;     Brian (3) 10:10,17;         24:1;32:9               decision (5) 11:21;
 above-titled (1) 33:22     29:1,4,5,9;31:3,9,13,     12:14                   communications (1)          20:5;22:7,9;30:7
 academic (3) 6:20;         15                      budgeting (1) 7:13          10:3                    decision-making (1)
   7:6;16:7               appointments (1) 29:2     buy (1) 30:3              concerned (2) 20:19;        9:6
 accepted (1) 11:1        approval (1) 33:14        buying (1) 30:4             22:15                   Defendant's (1) 29:15
 accompany (1) 19:17      approved (2) 25:3;        buyout (1) 33:3           concerning (6) 4:11;      delivery (1) 33:19
 accurately (1) 6:7         30:8                                                8:4,12,18;11:3;26:5     deposition (4) 5:8;
 achievement (2)          approving (1) 25:6                  C               concerns (4) 8:11;          7:16,20;38:1
   24:20,22               approximation (1)                                     10:4;19:22;20:2         detail (1) 12:4
 action (3) 14:6;17:25;     13:18                   call (1) 29:3             concluded (1) 33:23       details (1) 32:2
   23:12                  April (9) 12:13;14:18,    called (1) 4:2            conclusion (1) 8:15       determination (5) 9:2,
 active (1) 24:14           20;15:9,21;16:2,3;      calling (1) 11:18         conducting (1) 8:17         14;11:7;21:20;33:13
 actually (1) 28:21         17:19;18:22             came (3) 11:11;18:5,6     conjunction (1) 31:23     determined (1) 11:23
 addressed (1) 23:6      around (3) 9:24;20:3;      can (31) 5:10,18;         considerations (2)        determines (1) 33:8
 administration (3)         25:15                     6:10;7:2,22;10:7;         13:22;14:1              development (1) 7:12
    7:12,14;23:21        arrangement (1) 28:5         11:4,15;12:8,21;        consistent (2) 18:9;      different (1) 33:6
 advance (1) 7:15        arrangements (1) 28:2        13:21,24;14:23;           31:12                   direct (4) 7:10;14:15;
 advise (1) 17:22        articulated (1) 5:15         15:23;16:22,25;17:6;    construction (1) 29:12      16:8;26:3
 affairs (2) 6:20;7:6    Associate (2) 6:19,22        20:11,24;21:23;23:1;    consulted (3) 9:13;       directed (2) 5:5;17:13
 afternoon (1) 4:7       assumed (1) 20:5             24:2,7,8;25:18;26:16;     30:18;31:24             direction (2) 18:23;
 again (2) 6:10;26:15    attached (3) 23:14;          28:19;29:14;30:14,      contacted (1) 18:3          26:2
 against (2) 4:11;13:13     24:5;29:22                21;31:19                continue (1) 16:25        directly (2) 16:11;
 agreed (2) 11:6;25:11   attorney (4) 4:8;5:5,      case (2) 4:24,25          continuing (1) 29:3         22:25
 agreement (1) 14:3         18;7:19                 CASTIGLIONE (12)          contract (1) 28:14        director (2) 12:19;
 agrees (1) 5:20         attorneys   (1) 4:9          4:6,8;17:1,2;20:12,     contribution (1) 9:21       14:12
 ahead (1) 21:7          attracted (1) 9:24           24;31:18;32:12,17,      control (1) 7:25          disciplinary (3) 8:5,19;
 Alaei (33) 4:10;8:4,    attractive (1) 9:25          21;33:16,19             conversations (3)           32:6
    12,18;9:2,16;11:4,9, August (7) 9:3,11;         certain (1) 5:2             7:18;24:24;30:9         discipline (1) 9:2
    17,24;14:17;15:11;      30:16;31:10,10,10;      certify (2) 38:19,21      Coordinator (1) 10:21     discussed (1) 31:22
    16:9;20:18,22;21:15,    33:11                   cetera (1) 30:2           copy (3) 14:7;19:4;       discussion (2) 11:3;
    21;22:3,10,19,22;    authority (3) 14:7;        change (1) 21:3             33:21                     26:5
    24:4,11,20;25:4,15,     16:12;30:5              changes (2) 38:19,21      core (1) 13:5             discussions (2) 22:13;
    19;26:6;29:23;30:8, aware (26) 5:1;7:24;        Chantelle (3) 10:11,      Cornell (1) 11:2            25:9
    17;33:4,11              8:3,25;9:1,10,19;         19;12:14                corner (1) 15:2           dispose (1) 18:6
 Alaei's (11) 4:11;9:11;    11:7,11;14:17,20;       C-H-A-N-T-E-L-L-E (1)     CORRECTION (1)            document (13) 11:5;
    10:5;11:13;18:25;       15:9,18;20:1;22:8;        10:12                     38:2                      15:5;16:14,18,19;
    19:4,23;20:2;25:1;      25:13,19,20,23;26:1,    Charles (14) 12:1;        counsel (4) 5:1,20;         21:5;23:5,16;24:4;
    30:10;31:15             19;28:13,17;30:5,12,      16:1,20;17:9,15,19;       6:5;29:24                 26:22,23;27:5;30:23
 Albany (22) 4:12,13,       23                        18:1,3,18,24;21:4,9,    counseling (5) 29:22;     documentation (1)
    15,16;6:16;8:23;9:1, Ayers (1) 29:20              15,16                     30:12,15,19;32:7          14:8
    10,17,20;11:8,11;                               Charles' (1) 17:23       couple (2) 29:12;          documents (4) 7:15,
    13:16;14:1;15:10,19;             B              check (2) 12:20;20:9        32:13                     25;17:3,7
    24:18;28:15;30:6;                               Chief (2) 8:2;16:7       course (1) 17:25           done (1) 5:9
    32:4,23,25           B-1 (4) 15:24,25;          circumstances (1)        create (1) 5:7             down (9) 15:7,14;
 allegations (1) 29:25      16:15;18:10                10:24                 critical (1) 10:4            20:12,25;23:16;24:2;
 along (1) 25:1          B-3  (7) 16:23;17:4;       claim (1) 4:11           current (3) 6:18;            27:2,2;31:6
 amount (1) 24:15           20:13,15;21:1,2,19      Claimant's (31) 7:23;       12:20,24                dozen (1) 13:20
 annual (1) 13:13        B-6 (5) 21:24;22:2;           10:8,9;12:9,11;14:24, currently (1) 6:13         Dr (47) 4:10,11;8:4,
 annually (3) 27:9,14;      23:2,7;24:6                25;15:24,25;16:15,                                 12,18;9:2,11,16;10:5;
    28:25                B-8 (2) 30:22;33:7            23;17:4;18:9;20:13,               D                11:9,13,17,24;14:17;
 Anthony (2) 32:12;      back (5) 11:6,9;15:8,         15,25;21:2,19,24;                                  15:11;16:9;18:1,18;
    33:17                   11;26:18                   22:1;23:2,6;24:5;     D-1 (2) 10:8,9               19:4,23;20:2,18,22;
 anymore (1) 28:23       balance   (2) 31:8;33:9       26:17,22;29:15,18;    D-2 (2) 29:16,18             21:4,15,16,21;22:3,
 appear (1) 15:4         basis (3) 13:13;17:22;        30:14,15,22;33:7      date (3) 15:2;23:3,5         10,19,22;24:4,11,20;
 appears (8) 15:2,7,15,     25:6                    clear (3) 4:14,20;5:8    dated (8) 12:13;16:2;        25:1,4,15,19;26:6;
    25;20:17;21:4;22:2;  BBS   (1) 15:4             Cleary (4) 10:11,19,        17:19;20:17;22:3;         28:10,13;30:8,10,17;
    27:7                 began (1) 11:12               22;12:14                 24:4;29:20;30:16          31:15;33:4,11

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Case 1:21-cv-00377-BKS-TWD                       Document 119-8         Filed 04/29/25         Page 42 of 44
DR. KAMIAR ALAEI v.                                                                                  WILLIAM B. HEDBERG
STATE UNIVERSITY OF NEW YORK, et al.                                                                       January 25, 2021

 drafted (1) 16:17           7                                                                           management (1)
 drafting (2) 16:19;       exhibits (1) 33:20                  H                          J                10:18
   17:8                    experience (5) 14:10;                                                         many (2) 13:18;33:5
 duly (1) 4:3                18:12;23:23;32:4;       handwritten (1) 15:1     James (2) 16:2,3           March (1) 11:8
 duties (3) 7:2,11;13:6      33:8                    happened (1) 33:4        job (2) 7:2;25:14          marked (12) 10:7,8;
                           explain (9) 7:2;10:15;    happening (1) 32:10      Joe (1) 4:8                 12:8,11;14:23;15:23;
            E                11:15;12:2;13:1,21,     harassment (1) 30:1      July (1) 29:20              21:23;22:1,1;29:14,
                             24;17:6;28:19           Harvey (3) 12:1;16:1;                                18;30:21
 E-1 (2) 12:9,11           explanation (1) 18:17       18:24                             K               material (1) 19:18
 E-2 (2) 26:17,22          extend (1) 28:25          Health (1) 4:19                                     matter (3) 18:6;20:8;
 eager (1) 18:6            extended (1) 27:15        hear (1) 10:4            Kamiar (6) 4:10;8:4;        33:22
 Education (1) 28:12       extends (2) 31:2,3        heard (3) 8:6,6;9:21         11:4;18:25;29:23;      may (10) 9:22;18:11,
 efforts (1) 15:18         extension (1) 27:9        HEDBERG (17) 4:1,7;          30:17                   11;22:3,12,18;23:3,5;
 eligible (1) 29:3                                      6:12,13;10:9;12:10; Kamiar's (1) 23:8             24:5;31:25
 else (2) 12:15;25:10                  F                14:25;17:3;20:14;     Karl (1) 23:19             maybe (1) 15:4
 e-mail (15) 12:12,15,                                  21:2,25;23:4;26:18; Kevin (1) 28:8               mean (2) 27:19;31:25
   18;17:18;18:18;         faculty (3) 7:11;13:3;       29:17;32:18,22;38:25 knowing (1) 17:16           means (5) 12:24;
   20:16,18;22:3,4,18;       24:22                   held (3) 6:21,24;        knowledge (2) 4:23,         13:2;26:14;27:12,13
   29:17,19,21;33:20,21    fair (2) 9:8;24:15           32:22                     24                     member (2) 23:21;
 e-mails (3) 10:10;        familiar (2) 12:23;       higher (1) 24:12         knows (1) 17:20             24:22
   11:3;20:7                 24:11                   honestly (1) 8:1                                    members (1) 7:7
 employed (2) 6:13,15      feel (1) 18:14            house (2) 18:5,6                      L             memo (1) 29:21
 employee (11) 7:12;       feelings (1) 17:23        HRM-3 (1) 21:4                                      memorandum (4)
   10:18;12:19;13:12;      feels (1) 17:21           Human (3) 4:19;          L-4 (2) 14:24,25             30:12,15,19;32:7
   14:2,9,11;19:14;        few (2) 7:10;32:18           10:17;33:13           language (7) 26:11,        merit (1) 20:2
   23:24;27:21;30:6        file (3) 22:7,19,20                                    14;27:12,25;28:1;      merits (1) 19:22
 Employees (11) 13:3,      final (1) 14:6                         I               29:8,11                message (1) 18:4
   16,23;25:13,21;         find (1) 24:9                                      last (4) 15:15;20:25;      middle (4) 11:5;
   26:14;27:11;28:3;       fine (1) 19:10            identified (7) 7:22;         21:2;32:14               20:16;24:3;27:4
   29:2;32:6;33:9          finish (1) 5:10              15:1;16:14,23;17:4; law (1) 4:8                  might (2) 4:24;5:1
 employee's (3) 14:13,     firm (1) 4:8                 21:3;26:17            leadership (1) 7:8         minute (1) 16:25
   14;21:14                first (9) 4:2;5:9;6:4;    idiosyncratic (1) 33:5 learn (1) 8:7                minutes (2) 32:13,18
 employment (16)             8:7;12:5;21:12,13;      include (1) 7:11         least (5) 13:20;27:7,      misconduct (1) 29:25
   4:12;6:18;9:11,14;        22:2;23:9               indicate (2) 27:25;          17,19;28:6             misstep (1) 22:17
   11:9,13;15:12;27:1,8,  fiscal (1) 7:13               29:9                  leaving (1) 10:25          moderation (1) 29:9
   17,20,23;28:2,14;      five (1) 22:19             indicated (1) 32:2       lecturer (1) 28:24         more (2) 10:2;15:14
   30:10;31:14            follow (2) 20:20;22:16     individual (1) 7:7       left (1) 10:22             most (1) 12:19
 end (1) 15:3             follows (2) 4:4;33:18      individuals (3) 10:13,   left-hand (1) 15:3         move (1) 11:23
 engagement (2)           form (14) 11:18;17:9;         16;26:1               letter (16) 16:1;18:7,8,   moves (1) 14:6
    26:10,24                 18:7;20:21;21:3,6,8,    information (1) 4:23         14,24;23:13;25:1;      moving (1) 18:19
 ERRATA (1) 38:1             10,18;22:24;23:14;      initial (3) 26:25;28:24;     26:10,24,25;28:7;      much (1) 8:6
 et (1) 30:2                 24:25,25;31:16             31:15                     30:25;31:2,13,15;
 evaluate (1) 28:25       forward (3) 11:23;         initially (1) 11:22          33:11                             N
 evaluated (1) 13:12         18:19;19:18             initials (1) 15:4        Liesl (1) 12:12
 evaluation (10) 12:21; fourth (1) 15:7              initiated (1) 11:22      L-I-E-S-L (1) 12:12        name (2) 4:7;6:10
    13:9,11;14:20;19:1,5, front (2) 11:5;23:5        initiates (1) 14:10      likely (1) 18:11           narrative (1) 9:24
    13;23:19,25;26:20     full-time (1) 28:23        input (1) 26:5           line (3) 15:7,15;27:5      nature (1) 10:1
 evaluations (3) 15:16, funding (4) 24:6,7,8,9       instances (1) 29:13      lined (1) 14:3             need (4) 5:3,3,4;6:1
    20;25:24              fundraising (1) 24:18      Institute (1) 4:19       little (2) 15:14;23:16     negative (3) 23:18,25;
 even (1) 29:1            funds (1) 24:21            instructed (1) 11:25     located (1) 20:10            25:23
 evergreen (3) 28:17,     further (1) 30:9           instruction (1) 20:4     long (3) 6:21;8:14;        New (6) 4:11,13,15;
    21;29:10                                         interest (1) 20:6            32:22                    6:17;14:5;22:17
 EXAMINATION (1)                      G              investigation (6) 8:3,8, longer (3) 10:19;29:1,     newsletters (1) 10:2
   4:5                                                  11,14,18,22               13                     next (6) 20:10,21;
 examined (1) 4:3          generally (1) 11:15       invitation (1) 23:9      looked (1) 18:9              22:5;24:2;27:3;32:8
 execute (1) 17:10         GIHHR (2) 4:18;16:10      involved (3) 8:21;       looking (1) 21:19          nine (1) 7:9
 Exhibit (30) 7:23;10:8,   given (1) 26:6               13:15,19              looks (1) 30:25            nod (1) 5:13
   9;12:9,11;14:24,25;     gives (1) 11:20           involving (1) 10:24                                 non (1) 13:23
   15:24,25;16:15,23;      Global (1) 4:19           issue (5) 8:19;26:8,9;                M             non-renew (3) 12:22;
   17:4;18:10;20:15;       Goal (2) 15:8,10             31:22,24                                           30:3,4
   21:1,2,24;22:2;23:2,    Good (3) 4:7;9:21,22      issued (2) 27:21;32:7    makes (1) 26:25            non-renewal (32)
   6;26:17,22;29:15,15,    Graduate (1) 28:12        issues (2) 4:25;8:5      making (2) 17:21;            11:12,17,19,23;12:3;
   18;30:14,15,22;33:7,    guess (1) 9:5             IX (1) 10:21                 18:15                    13:15,22,25;14:11;

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                                                    MFReportingNY.com
Case 1:21-cv-00377-BKS-TWD                Document 119-8             Filed 04/29/25         Page 43 of 44
DR. KAMIAR ALAEI v.                                                                                 WILLIAM B. HEDBERG
STATE UNIVERSITY OF NEW YORK, et al.                                                                      January 25, 2021

   15:16,20;17:9,12;     participate (3) 8:17;    processes (1) 13:16         22:21                     22:21,22;23:8,9,12;
   18:14,20,24;19:11,20,   9:13;30:17             processing (2) 19:12;     recess (1) 32:20            25:17
   24;20:3,8;22:10,14; participated (2) 8:22;       20:3                    recognize (4) 16:14;      responsibilities (3)
   25:1,4,7;27:20,22;      9:5                    professional (3)            17:3;23:4;26:23           7:3;13:6;25:14
   30:8,25;31:5;33:2     particular (1) 17:25       12:19;13:3,12           recommendation (3)        responsible (1) 10:18
 non-renewed (4)         past (1) 32:10           Professions (1) 14:4        17:21;18:13,15          Rethemeyer (1) 23:19
   19:14;23:24;25:19;    pay (2) 31:8;33:9        professor (1) 28:11       recommended (1)           R-E-T-H-E-M-E-Y-E-R (1)
   26:7                  payment (1) 26:6         program (9) 12:21,24;       25:16                     23:20
 non-renewing (1) 14:2 people (3) 5:13;8:21;        13:2,5,14;14:17;        record (4) 5:2,19;        review (5) 7:15;19:19;
 Normally (2) 13:12;       23:20                    18:25;19:4,13             6:11;32:3                 22:6,19,20
   21:13                 per (1) 18:23            projected (1) 24:9        recorded (1) 5:19         reviewed (2) 27:8,14
 note (1) 22:18          performance (13)         protocol (1) 20:20        recreate (2) 15:17,19     right (2) 6:10;20:10
 notes (2) 15:1;32:14      12:21,24;13:2,5,6,7,   provided (3) 14:8;        recruitment (1) 7:11      right-hand (1) 15:2
 notice (3) 27:20,21;      13;14:17;15:15,20;       19:3,13                 refer (14) 4:14;7:22;     Rights (1) 4:19
   31:4                    18:25;19:4,13          provides (2) 31:4,4          10:7;12:8;14:23;       RLS (1) 15:4
                         period (3) 13:7;28:22,   providing (1) 7:8            15:23;16:22;20:11;     role (1) 8:17
             O             24                     Provost (29) 6:19,23;        21:23;23:1;26:16;      ROTONDI (4) 16:24;
                         personnel (6) 7:12;        7:4,5;11:25;12:2,5;        27:2;29:14;30:14         31:16;32:16;33:21
 oath (1) 5:7              8:2;11:8,12;14:1;        16:2,3;17:13,22,23;     reference (3) 12:24;
 Object (1) 31:16          15:10                    18:19,23;20:1,7;           13:8;24:6                          S
 objection (2) 5:17,18   phone (1) 18:4             21:10,11,20;22:5,24;    referenced (1) 24:13
 objections (1) 5:2      place (1) 21:12            23:15;24:24;25:9;       referred (2) 13:4;        salary (2) 26:12;31:8
 objectives (1) 13:7     plan (1) 30:1              26:2;28:12;30:10;          17:11                  same (5) 5:11;6:24;
 obtained (1) 18:25      planning (1) 7:13          32:25;33:15             referring (7) 4:15,18,      28:4,4;31:4
 off (2) 5:20;33:9       please (6) 5:22,24;      psychology (1) 28:11         18;13:11;20:16;        saying (2) 17:19;29:6
 offer (1) 26:25           6:11;15:14;27:2;31:6   purports (1) 29:19           24:11;27:17            schools (1) 7:9
 offered (1) 18:18       pm (1) 33:23             purpose (1) 30:2          reflected (1) 33:10       scope (1) 25:14
 office (3) 10:17;33:1,  point (3) 6:1;19:1;      purview (1) 28:3          regarding (8) 4:12,24;    screen (1) 23:17
   13                      22:12                  put (1) 21:18                8:4;11:16;20:2,8;      scroll (7) 15:14;20:12,
 Officer (2) 8:2;16:7    policies (1) 30:1                                     24:6;28:14               24;23:16;24:2;27:2;
 once (1) 10:2           posed (1) 6:3                      Q               regards (1) 24:12           31:6
 one (4) 26:6;27:24;     position (6) 6:18,21;                              related (1) 26:11         second (2) 20:15;24:4
   28:6;33:8               7:3;27:11;28:15;32:5   quality (1) 9:19          relations (2) 7:13;       security (6) 26:11;
 only (1) 33:21          positions (2) 6:24;      quick (1) 26:19              10:19                    27:6,16;29:1,8;31:14
 opportunity (4) 11:1,     32:23                                            relevant (1) 4:25         seeing (1) 8:1
   20;14:9;20:23         positive (3) 24:20,22;              R              remaining (3) 27:23;      Selchick (3) 10:10,17;
 organization (1) 14:6     26:20                                               31:9;33:9                12:14
 original (1) 26:10      possible (2) 4:10;27:9   raised (4) 9:22;12:5;     remember (1) 26:8         S-E-L-C-H-I-C-K (1)
 others (2) 24:17;       potential (1) 8:5          18:1;20:1               renew (1) 21:21             10:11
   29:20                 practically (2) 17:16,   Randy (5) 12:14;          renewal (2) 25:11;        sending (4) 16:19;
 otherwise (3) 5:4,21;     20                       22:13,16;29:19;30:16       26:18                    17:9;20:7;24:25
   6:4                   prepare (3) 7:16;        reaching (1) 24:12        renewed (5) 25:15,16,     Senior (5) 6:19,23;
 out (4) 14:3;15:3;        17:13;21:10            read (1) 24:7                21;26:2,20               7:4,5,7
   30:3,4                prepared (1) 21:8        reading (1) 23:10         rephrase (2) 5:25;        sent (2) 12:13;21:8
 outlines (1) 13:5       preparing (4) 7:19;      ready (1) 32:15              25:18                  sentence (1) 31:7
 outset (1) 32:2           17:8;30:18,19          really (3) 26:19;         report (2) 7:4,5          separate (1) 20:6
 over (6) 9:16,19;10:5;  prescribed (1) 22:16       29:24;33:12             reported (1) 10:2         series (1) 10:10
   13:19;16:9;24:12      present (1) 20:22        reason (2) 6:6;38:2       reports (3) 7:10;9:21,    Several (1) 13:20
 oversee (1) 26:14       presented (1) 5:24       recall (48) 8:1,8,9,10,      22                     sexual (2) 29:25;30:1
 overseeing (1) 27:11    President (10) 6:20,       24;9:22;10:23;11:10,    request (1) 21:3          SHEET (1) 38:1
 oversight (2) 7:8;16:9    22;7:6;22:6,9,25;        16;12:5,7;14:19,22;     requests (1) 33:18        show (1) 30:21
                           25:3,6,11;33:15          16:16,17,19,20;17:8,    required (3) 11:20;       showing (4) 7:24;
             P           President's (1) 30:7       24,25;18:3,5;19:3;         13:4;24:9                20:14;21:25;29:17
                         previously (6) 7:22;       20:7,9,18,19;21:5;      resources (2) 10:18;      shown (1) 12:10
 page (10) 20:15,17,       12:8;15:23;16:22;        22:12,15,15,21;            33:14                  side (1) 15:3
   25;21:3;22:2;23:2;      26:16;30:21              23:10;24:19;25:2,12,    respect (1) 24:8          sign (4) 18:7,13,24;
   24:2,3,4;27:5         probe (1) 4:23             25;26:4,15,21;28:5;     respective (1) 32:22        21:11
 PAGE/LINE (1) 38:2      proceeded (1) 20:19        29:11;30:11;31:20,      respects (1) 33:5         signed (5) 18:7;21:4,
 paragraph (6) 23:17;    process (15) 11:12,        22;32:1,1,10            respond (5) 5:23;6:7;       13;22:5,24
   24:3,7,13;27:3,4        17,19,24;12:1,3;       received (8) 17:15,18;       11:21;14:9;20:23       similar (3) 24:17;33:3,
 part (10) 12:18;19:20;    13:22,25;14:3;19:20,     20:4,21;23:13,18,25;    responded (1) 22:23         10
   20:14;21:19;22:4,4;     23;20:21;22:6,16;        26:20                   response (11) 5:13,       sit (1) 11:16
   23:6;24:5;29:21,21      32:7                   receiving (2) 18:17;         15,15;17:15;18:1;      situation (2) 17:20;

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                                               MFReportingNY.com
Case 1:21-cv-00377-BKS-TWD                       Document 119-8        Filed 04/29/25        Page 44 of 44
DR. KAMIAR ALAEI v.                                                                                WILLIAM B. HEDBERG
STATE UNIVERSITY OF NEW YORK, et al.                                                                     January 25, 2021

   33:3                                              underneath (1) 16:12
 somebody (2) 12:18;                  T              understandable (1)                 Y                        8
   19:19                                               5:14
 someone (1) 12:15         talk (1) 6:5              Understood (1) 4:21     year (5) 6:24;26:6;      8 (3) 23:3,5;24:5
 sorry (6) 5:3;6:10;       talks (2) 12:18;22:4      unfounded (1) 29:25       27:9,15,24
    19:8;21:7;28:10;       target (1) 24:13          unique (1) 33:6        years (9) 6:23;26:11;                 9
    29:15                  targets (1) 24:7          unit (1) 14:12            27:7,17,20,22,25;
 speaking (1) 5:11         team (1) 7:8              United (1) 14:4           29:8;31:13             9 (2) 30:16;31:10
 specific (1) 29:11        ten (1) 6:23              University (12) 4:13,  York (5) 4:11,13,16;
 spoke (1) 18:3            tend (1) 5:13               15;6:16,16;10:20,22,    6:17;14:5
 sponsored (1) 24:21       tenure (1) 29:3             25;14:4;16:7;23:21; Young/Sommer (1)
 staff (1) 7:11            term (4) 28:17,20;          24:23;31:8              4:9
 stand (1) 16:24             29:1;31:9               University's (2) 7:9;
 standard (3) 21:6;        terminate (1) 9:14          20:6                            Z
    30:25;33:19            terminated (2) 9:10;      unless (2) 5:4,20
 Stark (4) 12:14;22:13;      32:8                    unusual (1) 28:1       Zwicklbauer (1) 12:12
    29:19;30:16            termination (1) 33:10     up (1) 14:6            Z-W-I-C-K-L-B-A-U-E-R (1)
 start (2) 12:1,3          terms (2) 24:18;28:14     upon (1) 27:20            12:13
 starting (1) 23:1         testified (1) 4:3         use (1) 29:13
 starts (3) 23:2,18;24:8   third (1) 23:1            used (2) 28:6;29:12                1
 State (6) 4:11,12,15;     though (1) 19:19          usually (1) 29:5
    6:10,16;14:5           thought (1) 11:6          UUP (2) 14:4,5         1 (1) 27:5
 statement (7) 11:4;       three-year (2) 28:24;                            10 (3) 9:11;31:10;
    13:4;17:8,11,12;         29:5                               V              33:11
    22:20,21               times (1) 24:12                                  14 (3) 22:3,12,18
 states (3) 22:4;29:21,    Title (1) 10:21           Valerie (1) 29:20      18 (1) 31:10
    21                     titles (1) 12:19          variation (1) 28:21    1970 (1) 32:24
 status (1) 21:3           today (4) 4:22;6:6;       verbal (1) 5:15        1974 (1) 32:25
 Stellar (6) 16:2,3;         7:15;11:16              verbalize (1) 5:12     1985 (1) 33:1
    17:13;20:1;24:24;      together (1) 21:18        versus (1) 26:6        1992 (1) 6:22
    25:9                   told (1) 8:10             Vice (7) 6:19,19,22,
 stenographer (3) 5:6,     took (1) 8:14               23;7:4,5;28:11                   2
    20;7:24                top (2) 15:7;23:17        violence (1) 30:2
 step (5) 11:21;14:8;      touch (1) 11:25                                  2:23 (1) 33:23
    20:20,22;22:5          transaction (3) 11:18;               W           2018 (24) 6:25;8:4;
 still (1) 27:22             21:6;31:23                                        9:3,11;11:8;12:13;
 strike (4) 8:25;13:23;    transcript (5) 5:7;       wait (1) 5:10             14:18,21;15:9,21;
    17:17;23:22              33:18,20;38:20,22       whatnot (2) 6:2;27:11     16:2,4;17:19;18:22;
 struggle (1) 29:23        triggered (1) 8:11        what's (8) 10:7;12:10;    22:3,12,18;23:3,5;
 studied (2) 31:23;32:3    true (2) 38:20,22           15:23;20:14;21:23,      24:5;29:20;30:16;
 subject (2) 33:14;        truthfully (1) 6:7          25;30:21;33:10          31:10;33:11
    38:19                  try (1) 5:25              Whereupon (2) 32:20; 2019 (1) 31:11
 submit (1) 22:20          trying (1) 15:19            33:22                21 (1) 24:12
 submitted (1) 23:14       two (12) 10:13,16;        who's (1) 33:8         26 (1) 11:8
 submitting (1) 24:14        26:6,11;27:7,17,19,     WILLIAM (3) 4:1;6:12; 27 (2) 16:2,3
 success (3) 24:16,17,       22,25;29:8;31:2,13        38:25                28 (2) 17:19;18:22
    21                     two-year (1) 29:9         Williams (4) 28:8,10,
 SUNY (26) 4:12,14;        type (3) 5:11;18:15;        10,13                            3
    8:22;9:1,10,17,20;       24:17                   within (1) 25:13
    11:8,11;13:16,22;      typic (1) 19:8            without (1) 17:22      3 (1) 15:9
    14:1;15:10,12,19;      typical (7) 18:12,16;     witness (2) 4:2,10
    24:17;25:13,20;          19:7,11,15,16;32:6      words (2) 14:14;27:21              4
    28:15;30:5;32:4,23,    typically (4) 14:10,12;   work (7) 7:6;9:16,19;
    24,25;33:3,11            19:19;27:24               10:1,5;19:23;20:2    4 (3) 12:13;14:18,20
 supervisor (7) 14:15,                               worked (1) 29:22       4/28/2018 (1) 21:5
    15;16:8;18:13,14;                 U              working (2) 22:19;     4/3 (1) 15:2
    21:14;26:3                                         32:4                 4/30/2018 (1) 20:17
 support (2) 15:16,20      Ultimately (1) 30:7       workplace (1) 30:2     4:40 (1) 18:5
 sure (7) 12:20;15:8,      umbrella (1) 16:12        works (1) 10:17
    11;17:1;19:9;23:11;    uncomfortable (1)         Wow (1) 33:2                       6
    25:22                    17:21                   writing (1) 29:23
 swear (1) 5:6             under (2) 5:7;28:3        wrote (1) 22:25        6 (1) 29:20
 sworn (1) 4:3             underlying (1) 8:11

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